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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

-------------------------------------- x

CHERYL MAYERS,                                             :

                          Plaintiff,                       :            10 Civ. 2943 (AJP)

                   -against-                               :        OPINION AND ORDER

EMIGRANT BANCORP, INC., et al.,                            :

                          Defendants.                      :

-------------------------------------- x


ANDREW J. PECK, United States Magistrate Judge:

                   Plaintiff Cheryl Mayers, a forty-seven year old African American woman, brings this

action against defendants Emigrant Bank, Year 2000 Amended and Restated Severance Pay and

Outplacement Program of Emigrant Savings Bank, Janet Martin, Kimberly Romano and Stephanie

Nipe (collectively, "Emigrant" or "defendants") alleging violations of the New York State Human

Rights Law ("NYSHRL"), New York City Human Rights Law ("NYCHRL") and the Employee

Retirement Income Secutity Act ("ERISA"). (Dkt. No. 1: Compl.) Mayers asserts that Emigrant

"illegally fired" her in retaliation for her complaints of "discrimination, harassment and

mistreatment" (Compl. ¶¶ 1, 89-101), and intentionally and wrongfully denied her severance

benefits without conducting a "full and fair review" of the circumstances surrounding her

termination (Compl. ¶¶ 1, 70-87).

                   Presently before the Court is Emigrant's summary judgment motion. (Dkt. No. 29:

Notice of Motion.) The parties have consented to decision of this case by a Magistrate Judge



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pursuant to 28 U.S.C. § 636(c). (Dkt. No. 16.) For the reasons set forth below, Emigrant's summary

judgment motion is GRANTED in part and DENIED in part.

                                                FACTS

                   Mayers started working for Emigrant on November 17, 1986. (Dkt. No. 40: Mayers

Dep. at 10-11; Dkt. No. 34: Nipe Aff. Ex. 7: Mayers Aff. ¶ 1; Dkt. No. 35: Defs. Rule 56.1 Stmt.

¶ 1.) Mayers worked as a bank teller for several years before becoming a "telephone representative"

at Emigrant's Manhattan "call center." (Mayers Aff. ¶¶ 2-3; see Mayers Dep. at 10-20; Defs. Rule

56.1 Stmt. ¶¶ 1-2.) Mayers "received a recognition award for Quality Service and Outstanding

Achievement in Sales for the first, second, third and fourth quarter in 1993." (Mayers Aff. ¶ 4.)

                   In February 2005, Mayers was promoted to "supervisor" in Emigrant's Ossining call

center. (Mayers Dep. at 22-24, 28-29; Mayers Aff. ¶¶ 3-4; Defs. Rule 56.1 Stmt. ¶¶ 2-3.) Mayers

"monitor[ed]" the work of eight to twelve telephone representatives,1/ was responsible for generating

hourly reports, and took customer calls that the telephone representatives "could not handle."

(Mayers Dep. at 25-26, 30-33, 68; Defs. Rule 56.1 Stmt. ¶¶ 5, 7.) Mayers reported to Richard

Palombo and Vito Messina, the Ossining call center's daytime managers, who in turn reported to call

center director Kim Romano. (Mayers Dep. at 24-25; Defs. Rule 56.1 Stmt. ¶ 6.)

         Alleged Discriminatory Conduct

                   The atmosphere at the Ossining call center was "very good" until Palombo began

working there in 2006. (Dkt. No. 40: Mayers Dep. at 34-35.) Palombo "was very pushy, he used



1/
         In all, there were "[a]bout 50" telephone representatives at the Ossining call center, "four or
         five" of whom were males. (Mayers Dep. at 32, 67; Defs. Rule 56.1 Stmt. ¶ 5.)

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to use profanity, at one point he verbally abused some of the reps and -- physically abused a rep."

(Mayers Dep. at 35, 42.) On one occasion, Palombo "snatched the headset from off a rep and threw

it down on her desk" because she was seated at the wrong station. (Mayers Dep. at 35-41.) The

representative, Irma Kelly, was pregnant at the time and subsequently "had to go on disability on

account of what [Palombo] did to her." (Mayers Dep. at 37-38, 44.) Mayers told call center director

Kim Romano about this incident but nothing was done. (Mayers Dep. at 41-44.) Shortly thereafter,

Irma Kelly was fired because she missed a Saturday shift due to a personal emergency. (Mayers

Dep. at 44-47.)

                   On other occasions, Palombo called a female representative a thug (Mayers Dep. at

47-48), sent an "abusive" email to a female representative for being five minutes late (Mayers Dep.

at 48-53), told a pregnant female representative who "was having premature labor" to come to

Ossining from the Manhattan office (Mayers Dep. at 54-56), and told a pregnant female

representative who was on medical leave due to "preeclampsia" that other pregnant employees did

not take medical leave and Palombo did not hire her back when her medical leave ended (Mayers

Dep. at 56-59). Although Mayers believed that Palombo "single[d] the females out," she did not

report the incidents to anyone at Emigrant. (Mayers Dep. at 59, 67, 78-79.) Mayers also testified

that she did not feel that Palombo mistreated her because she was female. (Mayers Dep. at 64.)

                   In January 2007, Mayers reprimanded telephone representative Roslyn Johnson2/ for

sitting at the wrong work station. (Mayers Dep. at 65.) Johnson put her hand in Mayers' "face and

almost slapped" her, but Mayers "back[ed] off." (Mayers Dep. at 65-66.) Mayers reported the


2/
         Like Mayers, Johnson is an African American woman. (Mayers Dep. at 77-78.)

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incident to Palombo, who made Mayers and Johnson apologize to one another. (Mayers Dep. at 65-

66, 75-76.) Mayers was unhappy about the way Palombo "handled the situation" and emailed

Romano to complain that she "shouldn't have to apologize to" Johnson. (Mayers Dep. at 65-66, 70-

77.) Mayers did not allege in her email that Palombo "was discriminating against [her] in any way."

(Mayers Dep. at 77.) Romano never responded to Mayers' email. (Mayers Dep. at 65, 76-77.)

                   On August 14, 2007, Palombo reprimanded Mayers for, inter alia, emailing a report

to "the wrong distribution list, which caused major confusion at high levels." (Dkt. No. 31: Gigante

Aff. Ex. 5: Palombo 8/14/07 Memo; Mayers Dep. at 86-89; Mayers Aff. ¶ 5.) On August 30, 2007,

Mayers made the same "careless mistake[]" which again "caused tremendous confusion." (Gigante

Aff. Ex. 6: Palombo 8/30/07 Memo; Mayers Dep. at 89-90.) Mayers did not disagree with

Palombo's August 30 criticism of her. (Mayers Dep. at 90.) But after that, Palombo "picked on"

Mayers and "criticiz[ed] anything that [she did] when it came to the reports." (Mayers Dep. at 59-

61, 63-64.) Mayers felt "singled out" because "[o]ther supervisors ma[d]e mistakes with the report"

but if she made "the slightest mistake[, she] would get called in[to] the office." (Mayers Dep. at 63-

64.)

                   Mayers received a below average performance evaluation in December 2007 stating

that she lacked strong "Leadership and Time Management" skills and her work was "rushed and

inaccurate." (Gigante Aff. Ex. 3: 2007 Emp. Eval.; see Mayers Dep. at 62, 82-86; Defs. Rule 56.1

¶ 8.) Mayers believed that Palombo gave her a poor review in 2007--and denied her a raise and

bonus--because he wanted her to quit. (Mayers Dep. at 62.) Mayers' 2008 evaluation showed

improvement but she was criticized again for "[o]ccasionally submit[ing] work[] with careless



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mistakes." (Gigante Aff. Ex. 4: 2008 Emp. Eval.; see Mayers Dep. at 90-92; Defs. Rule 56.1 Stmt.

¶ 8.)

         Events Leading to Mayers' Termination

                   On Friday, October 17, 2008, Romano called Mayers and other Ossining employees

and told them to report to the Manhattan call center the following Monday, but Mayers "didn't know

what it was about." (Dkt. No. 40: Mayers Dep. at 92-95; Dkt. No. 34: Nipe Aff. Ex. 7: Mayers Aff.

¶¶ 6-7; Dkt. No. 35: Defs. Rule 56.1 Stmt. ¶ 14.)

                   On Monday, October 20, 2008, Mayers reported to the Manhattan call center and

began her "daily work as usual." (Mayers Dep. at 95-99.) At approximately 10:30 AM, Mayers and

"10 to 11" other Ossining employees were called into Romano's office and told that security was

investigating a "serious matter" that must remain "confidential" and not be discussed with anyone.

(Mayers Dep. at 99-103; Defs. Rule 56.1 Stmt. ¶¶ 16-17; Dkt. No. 32: Romano Aff. ¶ 4; see Mayers

Aff. ¶ 8.) Mayers was told to return to her cubicle until summoned by security. (Mayers Dep. at

102-03; Defs. Rule 56.1 Stmt. ¶ 17.) Later that day, Mayers was escorted to a conference room and

interviewed by Emigrant's security chief, Tom Fahey. (Mayers Dep. at 104-05; Mayers Aff. ¶ 9;

Defs. Rule 56.1 Stmt. ¶ 17; Dkt. No. 33: Fahey Aff. ¶ 3.)

                   Fahey asked Mayers to read an anonymous letter addressed to Emigrant's human

resources director, Stephanie Nipe. (Mayers Dep. at 105, 111; Mayers Aff. ¶ 9; Defs. Rule 56.1

Stmt. ¶ 18.) The letter contained numerous complaints about Palombo's "unprofessional" behavior

and threatened to disclose sensitive customer information, or steal customer funds, unless Palombo

was fired. (Romano Aff. Ex. 1: Anonymous Ltr; Mayers Dep. at 105-06, 108; Mayers Aff. ¶ 9;



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Defs. Rule 56.1 Stmt. ¶¶ 9-13.)          In particular, the letter complained that Palombo had:

(1) threatened to fire a pregnant employee "because she took days off for doctor appointments"

(2) "ripp[ed] a headset off" a female employee because she was seated at the wrong station;

(3) "antagonized" Mayers and "unfair[ly]" denied her a bonus in 2006 and 2007; (4) "belittled" a

female employee "to the point w[h]ere it affected her heart ailment"; (5) "spoke[] down" to a male

employee "as if he were a child"; (6) "unfairly" fired three employees, including one male, for "Time

Stealing" even though it was common for call center representatives to "clock in" co-workers who

were not actually working; (7) fired "an innocent girl" because another employee used her User ID

and password to access a customer account; (8) called a female employee a "disgusting hateful

person," thereby "reduc[ing] her to tears"; and (9) provoked a female employee into submitting a

resignation letter and did not let her retract it when she changed her mind. (Anonymous Ltr. at 1-6.)

The letter called Palombo a "sociopath" with "no conscience," a "lazy thinker" with "pathetic

managing skills," who was not a knowledgeable supervisor and was "oblivious to the problems that

are arising in the call center that he is supposed to be managing." (Id.)

                   Fahey asked Mayers whether "the information in the letter [was] true," and Mayers

said that she believed "the information regarding [Palombo] was right." (Mayers Dep. at 80-81,

107-09, 111-32, 136-37; Mayers Aff. ¶ 12; Defs. Rule 56.1 Stmt. ¶¶ 18, 19; Fahey Aff. ¶ 4.) Mayers

did not, however, agree with the threat to release customer information because she thought that was

"wrong." (Mayers Dep. at 134-37.) Mayers did not elaborate on any of the incidents mentioned in

the letter and said that she had "no clue" who wrote it. (Mayers Dep. at 107-10, 137-38; Mayers Aff.

¶ 12; Defs. Rule 56.1 Stmt. ¶¶ 19-20.)



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                   Later that day, Ossining call center representative Nicole Kelly approached Mayers

and asked "what took place" during her interview with Fahey. (Mayers Dep. at 145, 201; Mayers

Aff. ¶ 13.) Mayers told Kelly that "we are not supposed to discuss" the investigation, and "[w]hen

you go downstairs you will find out for yourself." (Mayers Dep. at 145-46, 201; Mayers Aff. ¶ 13.)

Daphne Jean, another Ossining call center representative, also approached Mayers and asked her

what she "thought of the letter." (Mayers Dep. at 196-98; Defs. Rule 56.1 Stmt. ¶ 28.) Mayers told

Jean that they were not "supposed to discuss" the letter but did not report the conversation to

Romano or Fahey.3/ (Mayers Dep. at 197-98; Defs. Rule 56.1 Stmt. ¶ 29.)

                   On October 21, 2008, Romano reminded Mayers "not to discuss the [confidential]

investigation" with anyone and "to notify [her or] Mr. Fahey . . . if [she] observed any other

employees discussing the investigation." (Mayers Dep. at 149-52; Mayers Aff. ¶ 14; Romano Aff.

¶ 6; Defs. Rule 56.1 Stmt. ¶¶ 24-25.)

                   On October 22, 2008, Kelly told Mayers that former Ossining employees "Keturah

Smith and Irma Kelly keep calling her." (Mayers Dep. at 149, 153-56; Mayers Aff. ¶ 15; Defs. Rule

56.1 Stmt. ¶¶ 26-27.) Mayers immediately told Romano about the calls4/ and Romano yelled at

Kelly "for being friends with Irma and Keturah." (Mayers Dep. at 153-61, 163, 193-94; Mayers Aff.


3/
         Jean also told Mayers that she had spoken to an ex-employee named Tina. (Mayers Dep. at
         216-22.) Mayers told Jean to tell Romano about the call but did not report it herself because
         it "had nothing to do with what was going on"; Tina just called Jean to "say hi." (Mayers
         Dep. at 216-22; see Defs. Rule 56.1 Stmt. ¶ 29.)
4/
         According to Romano, she personally "observed" Mayers and Kelly "discussing the
         investigation." (Romano Aff. ¶ 7.) Romano notified Emigrant management (Janet Martin)
         that Mayers and Kelly "failed to comply with the mandate prohibiting their discussion of the
         investigation." (Romano Aff. ¶ 7; Defs. Rule 56.1 Stmt. ¶ 30.)

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¶¶ 16-18.) Later that morning, Mayers was "summoned" to personnel where she met with Romano,

Nipe and Emigrant consultant Janet Martin. (Mayers Dep. at 158, 164-68; Mayers Aff. ¶ 19; Defs.

Rule 56.1 Stmt. ¶ 30; Romano Aff. ¶ 8.) Martin told Mayers that she was being fired, effective

immediately, because she "failed to live up to her managerial responsibilities" and because she

"withheld evidence." (Mayers Dep. at 168-70, 173-74, 210-11; Mayers Aff. ¶ 19; Defs. Rule 56.1

Stmt. ¶ 31; Romano Aff. ¶ 8.) As Mayers got up to leave, Martin added: "and by the way[,] you

will not be receiving a severance." (Mayers Dep. at 169, 174-75; Mayers Aff. ¶ 20.) Mayers was

escorted out of the building by security. (Mayers Dep. at 170-72; Mayers Aff. ¶ 20.)

                   Mayers later discovered that Kelly and Ossining call center supervisor Asha Rattan

also were fired and that they also had told Fahey that they agreed with the anonymous letter.

(Mayers Dep. at 166-67, 171-73, 195-96; cf. Defs. Rule 56.1 Stmt. ¶ 32.)5/ Mayers concluded that

she was fired because she "spoke up" and "told the truth" about Palombo. (Mayers Dep. at 80-81,

166-67, 194-95, 234; Defs. Rule 56.1 Stmt. ¶ 33.) Mayers also speculated that her firing might be

connected to her age, sex or race (Mayers Dep. at 80-82), but admitted that she never "complain[ed]

to anyone while [she] was employed at Emigrant about discrimination, retaliation and/or unfair

treatment." (Mayers Dep. at 109, 234; Defs. Rule 56.1 Stmt. ¶ 22.) Moreover, although Mayers did

not think that by "agreeing with th[e] letter [she was] making a complaint about age, race, sex,

gender or any other related discrimination against" her, she nonetheless believed the letter




5/
         Ossining call center representative Marla Darby also "agreed with the contents of the letter
         concerning Mr. Palombo. . . . [but] was not terminated following her participation in the
         investigation." (Defs. Rule 56.1 Stmt. ¶ 23; Romano Aff. ¶ 10; Fahey Aff. ¶ 4.)

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constituted a complaint of gender discrimination "[b]ecause the majority of the names that were

mentioned" were female. (Mayers Dep. at 109-10; Defs. Rule 56.1 Stmt. ¶ 21.)

         Mayers' Claim for Severance Benefits Under Emigrant's Severance Plan

                   On November 5, 2008, Mayers submitted a claim for severance benefits seeking

$29,914.82 (26 weeks pay) under Emigrant's "Severance Pay and Outplacement Program."6/ (Dkt.

No. 35: Defs. Rule 56.1 Stmt. ¶ 34; Nipe Aff. Ex. 3: Saynor 11/5/08 Ltr.; see Dkt. No. 40: Mayers

Dep. at 188-90, 202-03.) Emigrant Director of Human Resources Stephanie Nipe, a member of

Emigrant's "Committee of Fiduciaries,"7/ investigated Mayers claim. (Defs. Rule 56.1 Stmt. ¶ 37;

Nipe Aff. ¶¶ 1, 5.) In particular, Nipe reviewed "a December 1, 2008 memorandum from

Ms. Romano . . . outlining the events that precipitated [Mayers'] termination." (Defs. Rule 56.1

Stmt. ¶ 37; Nipe Aff. ¶ 5.) Romano's memorandum stated that "[i]t was brought to [Romano's]

attention that [Mayers] and two others did not follow the instructions that they were given," namely,

that Mayers

                   discussed confidential details about the investigation with her subordinates (Nicole
                   Kelly-Satchell & Daphne Jean). . . . [and] failed to make Kim [Romano] or Tom
                   [Fahey] aware that employees under her supervision were discussing confidential

6/
         According to the Plan, "Employee[s] with 20 or more years of Service" who are not
         terminated "for Cause" are entitled to 26 weeks of severance pay. (Dkt. No. 34: Nipe Aff.
         Ex. 1: Year 2000 Severance Pay & Outplacement Program § 2(a)(i)(A).) An employee is
         terminated "for Cause" where: (1) she "continual[ly] neglect[s] . . . to perform [her] duties"
         after notice or (2) engages in "dishonesty or willful misconduct." (Year 2000 Severance Pay
         & Outplacement Program § 1(d).)
7/
         Emigrant's "Committee of Fiduciaries" is the "Program Administrator" and is responsible
         for "review[ing] and dispos[ing]" of all claims, and deciding "any question arising in
         connection with the Program," including whether or not an employee was terminated "for
         Cause." (Year 2000 Severance Pay & Outplacement Program §§ 1(n), 9(e)-(f); see Nipe Aff.
         Ex. 2: Summary Plan Description at 13.)

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                   information i.e. Nicole Kelly-Satchell disclosed confidential information via
                   telephone and text messaging to ex-employees.

(Nipe Aff. Ex. 6: Romano 12/1/08 Memo.) Based on the investigation, Nipe and the "Committee

of Fiduciaries" determined that Emigrant "had a good faith basis for terminating Ms. Mayers for

cause due to her failure to comply with an express mandate from Kimberly Romano not to discuss

or disclose any matters involving Emigrant's investigation of the anonymous letter." (Nipe Aff.

¶¶ 5-7; Defs. Rule 56.1 Stmt. ¶¶ 37-38.)

                   On December 5, 2008, Emigrant issued a letter denying Mayers' application for

severance benefits. (Defs. Rule 56.1 Stmt. ¶ 38; Nipe Aff. ¶ 6 & Ex. 4: Nipe 12/5/08 Ltr.; see

Mayers Dep. at 203-04.) The letter explained that Mayers was not eligible for severance benefits

because her "actions rose to the level of 'willful misconduct' and therefore she was terminated for

Cause within the meaning of the Program." (Nipe 12/5/08 Ltr. at 1; Defs. Rule 56.1 Stmt. ¶ 38;

Nipe Aff. ¶ 7; see Mayers Dep. at 204-05.)

                   On January 23, 2009, Mayers requested copies of the documents relied upon by

Emigrant in denying her severance benefits. (Defs. Rule 56.1 Stmt. ¶ 40; Nipe Aff. ¶ 8 & Ex. 5:

Dagg 1/23/09 Ltr.; see Mayers Dep. at 206-07.) On January 27, 2009, Nipe provided Mayers with:

(1) a copy of Romano's December 1, 2008 memorandum; and (2) emails between Nipe and members

of Emigrant's Committee of Fiduciaries approving the denial of severance benefits. (Defs. Rule 56.1

Stmt. ¶ 40; Nipe Aff. ¶ 8 & Ex. 6: Nipe 1/27/08 Ltr. & Encs.; see Mayers Dep. at 206-08.)

                   On February 2, 2009, Mayers appealed the denial of her severance benefits claim and

submitted an affidavit explaining her view of the events leading to her termination. (Defs. Rule 56.1

Stmt. ¶ 41; Nipe Aff. ¶ 9 & Ex. 7: Dag 2/2/09 Ltr. & Mayers Aff.; see Mayers Dep. at 208-12.)


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Nipe denied Mayers' appeal on May 19, 2009. (Defs. Rule 56.1 Stmt. ¶ 42; Nipe Aff. ¶ 10 & Ex. 8:

Nipe 5/19/09 Ltr.; Mayers Dep. at 212-16.)

                                              ANALYSIS

I.       SUMMARY JUDGMENT STANDARD

                   Rule 56(c) of the Federal Rules of Civil Procedure provides that summary "judgment

should be rendered if the pleadings, the discovery and disclosure materials on file, and any affidavits

show that there is no genuine issue as to any material fact and that the movant is entitled to judgment

as a matter of law." Fed. R. Civ. P. 56(c); see also, e.g., Celotex Corp. v. Catrett, 477 U.S. 317, 322,

106 S. Ct. 2548, 2552 (1986); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247, 106 S. Ct. 2505,

2509-10 (1986); Lang v. Ret. Living Pub. Co., 949 F.2d 576, 580 (2d Cir. 1991).

                   The burden of showing that no genuine factual dispute exists rests on the party

seeking summary judgment. See, e.g., Adickes v. S.H. Kress & Co., 398 U.S. 144, 157, 90 S. Ct.

1598, 1608 (1970); Chambers v. TRM Copy Ctrs. Corp., 43 F.3d 29, 36 (2d Cir. 1994); Gallo v.

Prudential Residential Servs., Ltd. P'ship, 22 F.3d 1219, 1223 (2d Cir. 1994). The movant may

discharge this burden by demonstrating to the Court that there is an absence of evidence to support

the non-moving party's case on an issue on which the non-movant has the burden of proof. See, e.g.,

Celotex Corp. v. Catrett, 477 U.S. at 323, 106 S. Ct. at 2552-53.

                   To defeat a summary judgment motion, the non-moving party must do "more than

simply show that there is some metaphysical doubt as to the material facts." Matsushita Elec. Indus.

Co. v. Zenith Radio Corp., 475 U.S. 574, 586, 106 S. Ct. 1348, 1356 (1986). Instead, the

non-moving party must "set out specific facts showing a genuine issue for trial." Fed. R. Civ. P.



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56(e); accord, e.g., Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. at 587, 106 S. Ct.

at 1356; Weinstock v. Columbia Univ., 224 F.3d 33, 41 (2d Cir. 2000) (At summary judgment,

"[t]he time has come . . . 'to put up or shut up.'" (citations omitted)), cert. denied, 540 U.S. 811, 124

S. Ct. 53 (2003).

                   In evaluating the record to determine whether there is a genuine issue as to any

material fact, "[t]he evidence of the non-movant is to be believed, and all justifiable inferences are

to be drawn in his favor." Anderson v. Liberty Lobby, Inc., 477 U.S. at 255, 106 S. Ct. at 2513.8/

The Court draws all inferences in favor of the nonmoving party only after determining that such

inferences are reasonable, considering all the evidence presented. See, e.g., Apex Oil Co. v.

DiMauro, 822 F.2d 246, 252 (2d Cir.), cert. denied, 484 U.S. 977, 108 S. Ct. 489 (1987). "If, as to

the issue on which summary judgment is sought, there is any evidence in the record from any source

from which a reasonable inference could be drawn in favor of the nonmoving party, summary

judgment is improper." Chambers v. TRM Copy Ctrs. Corp., 43 F.3d at 37.

                   In considering a motion for summary judgment, the Court is not to resolve contested

issues of fact, but rather is to determine whether there exists any disputed issue of material fact. See,

e.g., Donahue v. Windsor Locks Bd. of Fire Comm'rs, 834 F.2d 54, 58 (2d Cir. 1987); Knight v.

U.S. Fire Ins. Co., 804 F.2d 9, 11 (2d Cir. 1986), cert. denied, 480 U.S. 932, 107 S. Ct. 1570 (1987).

To evaluate a fact's materiality, the substantive law determines which facts are critical and which

facts are irrelevant. See, e.g., Anderson v. Liberty Lobby, Inc., 477 U.S. at 248, 106 S. Ct. at 2510.


8/
         See also, e.g., Feingold v. N.Y., 366 F.3d 138, 148 (2d Cir. 2004); Chambers v. TRM Copy
         Ctrs. Corp., 43 F.3d at 36; Gallo v. Prudential Residential Servs., Ltd. P'ship, 22 F.3d at
         1223.

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While "disputes over facts that might affect the outcome of the suit under the governing law will

properly preclude the entry of summary judgment[,] [f]actual disputes that are irrelevant or

unnecessary will not be counted." Id. at 248, 106 S. Ct. at 2510 (citations omitted); see also, e.g.,

Knight v. U.S. Fire Ins. Co., 804 F.2d at 11-12.

         A.        Additional Summary Judgment Standards in Employment Discrimination
                   Cases

                   When a case turns on the intent of one party, as employment discrimination claims

often do, a "trial court must be cautious about granting summary judgment." Gallo v. Prudential

Residential Servs., Ltd. P'Ship, 22 F.3d 1219, 1224 (2d Cir. 1994).9/ Because the employer rarely

leaves direct evidence of its discriminatory intent, the Court must carefully comb the available

evidence in search of circumstantial proof to undercut the employer's explanations for its actions.

E.g., Gallo v. Prudential Residential Srvs., Ltd. P'Ship, 22 F.3d at 1224. "[S]ummary judgment may

not be granted simply because the court believes that the plaintiff will be unable to meet his or her

burden of persuasion at trial. There must either be a lack of evidence in support of the plaintiff's

position or the evidence must be so overwhelmingly tilted in one direction that any contrary finding

would constitute clear error." Danzer v. Norden Sys., Inc., 151 F.3d 50, 54 (2d Cir. 1998) (citations

omitted). Nonetheless, when an employer provides convincing evidence to explain its conduct and



9/
         Accord, e.g., Feingold v. N.Y., 366 F.3d 138, 149 (2d Cir. 2004); Kerzer v. Kingly Mfg., 156
         F.3d 396, 400 (2d Cir. 1998) ("[I]n an employment discrimination case when, as here, the
         employer's intent is at issue, the trial court must be especially cautious about granting
         summary judgment."); McLee v. Chrysler Corp., 109 F.3d 130, 135 (2d Cir. 1997)
         ("[C]aution must be exercised in granting summary judgment where motive is genuinely in
         issue."); Cardoza v. Healthfirst, Inc., 210 F. Supp. 2d 224, 227 (S.D.N.Y. 1999); see also,
         e.g., Chambers v. TRM Copy Ctrs. Corp., 43 F.3d 29, 40 (2d Cir. 1994).

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the plaintiff's argument consists of purely conclusory allegations of discrimination, the Court may

conclude that no material issue of fact exists and it may grant summary judgment to the employer.

E.g., Budde v. H&K Distrib. Co., No. 99-9449, 216 F.3d 1071 (table), 2000 WL 900204 at *1 (2d

Cir. June 29, 2000); Stern v. Trs. of Columbia Univ., 131 F.3d 305, 312 (2d Cir. 1997); Meloff v.

N.Y. Life Ins. Co., 51 F.3d 372, 375 (2d Cir. 1995).

                   In other words, to defeat summary judgment, "the plaintiff's admissible evidence

must show circumstances that would be sufficient to permit a rational finder of fact to infer that the

defendant's employment decision was more likely than not based in whole or in part on

discrimination." Stern v. Trs. of Columbia Univ., 131 F.3d at 312; see, e.g., Schnabel v. Abramson,

232 F.3d 83, 90-91 (2d Cir. 2000); Weinstock v. Columbia Univ., 224 F.3d 33, 42 (2d Cir. 2000)

(The question on summary judgment is "whether the evidence, taken as a whole, supports a

sufficient rational inference of discrimination. To get to the jury, it is not enough . . . to disbelieve

the employer; the factfinder must also believe the plaintiff's explanation of intentional

discrimination." (quotations & alterations omitted)), cert. denied, 540 U.S. 811, 124 S. Ct. 53

(2003); Van Zant v. KLM Royal Dutch Airlines, 80 F.3d 708, 714 (2d Cir. 1996) (plaintiff must

"produce not simply 'some' evidence, but 'sufficient evidence to support a rational finding that the

legitimate, nondiscriminatory reasons proffered by the employer were false, and that more likely

than not [discrimination] was the real reason for the discharge'").10/ Indeed, the Second Circuit

"went out of [its] way to remind district courts that the 'impression that summary judgment is


10/
         See also, e.g., Budde v. H&K Distrib. Co., 2000 WL 900204 at *1; Scaria v. Rubin, 94 Civ.
         3333, 1996 WL 389250 at *5 (S.D.N.Y. July 11, 1996) (Peck, M.J.), aff'd, 117 F.3d 652, 654
         (2d Cir. 1997).

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unavailable to defendants in discrimination cases is unsupportable.'" Weinstock v. Columbia Univ.,

224 F.3d at 41.

II.      EMIGRANT IS ENTITLED TO SUMMARY JUDGMENT ON MAYERS' NYSHRL
         AND NYCHRL RETALIATION CLAIMS

         A.        Legal Standards Governing Employment Retaliation Claims

                   "Under both the State and City Human Rights Laws, it is unlawful to retaliate against

an employee for opposing discriminatory practices." Forrest v. Jewish Guild for the Blind, 3 N.Y.3d

295, 312-13, 786 N.Y.S.2d 382, 396 (2004); see N.Y. Exec. Law § 296(7); N.Y. City Admin. Code

§§ 8-107(7).11/

                   Retaliation claims brought pursuant to the NYSHRL and the NYCHRL are analyzed

using the three-step, burden-shifting framework established by the Supreme Court in McDonnell

Douglas Corp. v. Green, 411 U.S. 792, 93 S. Ct. 1817 (1973). See, e.g., Borski v. Staten Island

Rapid Transit, No. 09-4916-cv, 2011 WL 891740 at *1 (2d Cir. Mar. 16, 2011) ("We analyze both

federal and state law retaliation claims under the familiar burden-shifting approach of McDonnell

Douglas Corp. v. Green."); Vito v. Bausch & Lomb Inc., 403 F. App'x 593, 597 (2d Cir. 2010)

("'Claims for retaliation [under NYSHRL] are analyzed under the same burden-shifting framework

established for Title VII cases.'"); Stavis v. GFK Holding, Inc., --- F. Supp. 2d ---, 09 Civ. 5096,

2011 WL 335664 at *7 (S.D.N.Y. Jan. 28, 2011) ("Retaliation claims arising under the NYSHRL



11/
         Accord, e.g., Bennett v. Verizon Wireless, 326 F. App'x 9, 10 (2d Cir.), cert. denied, 130
         S. Ct. 494 (2009); Bonnano v. Verizon N.Y., Inc., 06 Civ. 6671, 2011 WL 832855 at *6
         (S.D.N.Y. Mar. 4, 2011); Butler v. N.Y. Health & Racquet Club , --- F. Supp. 2d ---, 08 Civ.
         591, 2011 WL 310333 at *9 (S.D.N.Y. Jan. 26, 2011); Cretella v. Liriano, 633 F. Supp. 2d
         54, 70 (S.D.N.Y. 2009), aff'd, 370 F. App'x 157 (2d Cir. 2010).

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and the NYCHRL are also analyzed using the McDonnell Douglas framework."); Hall v. Parker

Hannifan Corp., --- F. Supp. 2d. ---, No. 08-CV-6033, 2009 WL 4406145 at *2 (W.D.N.Y. Nov. 30,

2009) (Retaliation claims under the NYSHRL are generally analyzed using the Title VII McDonnell

Douglas burden-shifting framework.); Kemp v. Metro-North R.R., 04 Civ. 9926, 2007 WL 1741256

at *16 (S.D.N.Y. June 14, 2007) ("When evaluating claims of retaliation under the . . . NYSHRL,

and NYCHRL, courts use the well-known McDonnell Douglas burden-shifting framework."), aff'd,

316 F. App'x 25 (2d Cir. 2009).12/

                   The initial step of this familiar framework requires the plaintiff to establish a prima

facie case of retaliation. E.g., Borski v. Staten Island Rapid Transit, 2011 WL 891740 at *1

(McDonnell Douglas "places the initial burden on the plaintiff to demonstrate a prima facie case of

retaliation."); see, e.g., Kaytor v. Elec. Boat Corp., 609 F.3d 537, 552-53 (2d Cir. 2010); Hicks v.

Baines, 593 F.3d 159, 164 (2d Cir. 2010); Jute v. Hamilton Sundstrand Corp., 420 F.3d 166, 173 (2d

Cir. 2005).13/ "To establish a prima facie case of unlawful retaliation under the NYSHRL, 'a plaintiff

must prove that: (1) he participated in a legally protected activity; (2) his employer knew of the

protected activity; (3) an adverse employment action ensued; and (4) a causal connection existed

12/
         See also, e.g., Fleming v. MaxMara USA, Inc., 371 F. App'x 115, 116 (2d Cir. 2010)
         (NYCHRL retaliation claim); Ibok v. Sec. Indus. Automation Corp., 369 F. App'x 210, 213
         (2d Cir. 2010) (NYCHRL retaliation claim); Matya v. United Ref. Co. 323 F. App'x 65, 67,
         (2d Cir. 2009) (NYSHRL retaliation claim); Bennett v. Verizon Wireless, 326 F. App'x at
         10 (NYSHRL retaliation claim).
13/
         See also, e.g., Ibok v. Sec. Indus. Automation Corp. 369 F. App'x at 213; Maietta v. Potter,
         70 F. App'x 28, 30 (2d Cir. 2003); Pellegrini v. Sovereign Hotels, Inc., 740 F. Supp. 2d 344,
         354 (N.D.N.Y. 2010); McKenzie v. Gibson, 07 Civ. 6714, 2010 WL 3528922 at *7
         (S.D.N.Y. Aug. 24, 2010); Lundy v. Town of Brighton, 732 F. Supp. 2d 263, 271 (W.D.N.Y.
         2010); Fleming v. MaxMara USA, Inc., 644 F. Supp. 2d 247, 269 (E.D.N.Y. 2009), aff'd,
         371 F. App'x 115 (2d Cir. 2010); Hall v. Parker Hannifan Corp., 2009 WL 4406145 at *2.

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between the protected activity and the adverse employment action.'" Stavis v. GFK Holding Inc.,

2011 WL 335664 at *7 (quoting Bowles v. N.Y.C. Transit Auth., 285 F. App'x 812, 814 (2d Cir.

2008)); accord, e.g., Forrest v. Jewish Guild for the Blind, 3 N.Y.3d at 313, 786 N.Y.S.2d at 396;

Bonnano v. Verizon N.Y., Inc., 2011 WL 832855 at *11; Hall v. Parker Hannifan Corp., 2009 WL

4406145 at *2; Kemp v. Metro-North R.R., 2007 WL 1741256 at *16. "The elements of retaliation

under the NYCHRL differ only in that the plaintiff need not prove any adverse employment action;

instead, he must prove that something happened that would be reasonably likely to deter a person

from engaging in protected activity." Gutierrez v. City of N.Y., --- F. Supp. 2d ---, 08 Civ. 6537,

2010 WL 4823644 at *11 n.12 (S.D.N.Y. Nov. 29, 2010) (quotations omitted); accord, e.g., Stavis

v. GFK Holding Inc., 2011 WL 335664 at *7 ; Deshpande v. Medisys Health Network, Inc., No. 07-

CV-375, 2010 WL 1539745 at *22 n.22 (E.D.N.Y. Apr. 16, 2010).

                   Establishment of a prima facie case gives rise to a rebuttable presumption of unlawful

retaliation. See, e.g., El Sayed v. Hilton Hotels Corp., 627 F.3d 931, 932 (2d Cir. 2010) ("[T]he

prima facie case establishes only a rebuttable presumption of retaliation."); Hicks v. Baines, 593

F.3d at 164 ("If the plaintiff sustains this initial burden, 'a presumption of retaliation arises.'"); Jute

v. Hamilton Sundstrand Corp., 420 F.3d at 173 (same).14/ The burden then shifts to the defendant

to articulate a legitimate, non-retaliatory rationale for its employment decision. See, e.g., Kaytor

v. Elec. Boat Corp., 609 F.3d at 552-53 ("At the summary judgment stage, if the plaintiff presents

at least a minimal amount of evidence to support the elements of the claim, the burden of production



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         Accord, e.g., Deshpande v. Medisys Health Network, Inc., 2010 WL 1539745 at *9; Hall v.
         Parker Hannifan Corp., 2009 WL 4406145 at *2.

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shifts to the defendant to proffer a legitimate non-retaliatory reason for the adverse employment

action."); Hicks v. Baines, 593 F.3d at 164 ("The defendant must then 'articulate a legitimate, non-

retaliatory reason for the adverse employment action.'"); Jute v. Hamilton Sundstrand Corp., 420

F.3d at 173 ("[U]nder the second step of the burden-shifting analysis, the onus falls on the employer

to articulate a legitimate, non-retaliatory reason for the adverse employment action."); Raniola v.

Bratton, 243 F.3d 610, 625 (2d Cir. 2001) (Sotomayor, C.J.) ("Once a prima facie case of retaliation

is established, the burden of production shifts to the employer to demonstrate that a legitimate,

nondiscriminatory reason existed for its action.").15/

                   If the defendant articulates a non-retaliatory rationale for its employment decision,

the burden shifts back to the plaintiff to show that the defendant's proffered explanation is a pretext

for unlawful retaliation. See, e.g., Kaytor v. Elec. Boat Corp., 609 F.3d at 553 (If the employer

produces a "legitimate non-retaliatory reason for the adverse employment action. . . . the employee

must, in order to avoid summary judgment, point to evidence sufficient to permit an inference that

the employer's proffered non-retaliatory reason is pretextual and that retaliation was a 'substantial

reason for the adverse employment action.'"); Hicks v. Baines, 593 F.3d at 164 (If the employer

offers a non-retaliatory explanation for its conduct, "'the presumption of retaliation dissipates and

the employee must show that retaliation was a substantial reason for the adverse employment




15/
         Accord, e.g., Bowles v. N.Y.C. Transit Auth., 285 F. App'x at 814; Pellegrini v. Sovereign
         Hotels, Inc., 740 F. Supp. 2d at 354; McKenzie v. Gibson, 2010 WL 3528922 at *8; Lundy
         v. Town of Brighton, 732 F. Supp. 2d at 271; Deshpande v. Medisys Health Network, Inc.,
         2010 WL 1539745 at *9; Hall v. Parker Hannifan Corp., 2009 WL 4406145 at *2.

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action.'"); Jute v. Hamilton Sundstrand Corp. 420 F.3d at 173 (same); Raniola v. Bratton, 43 F.3d

at 625 (same).16/

                   At this stage of the inquiry, merely disproving the defendant's legitimate explanation

is insufficient; the plaintiff must produce competent evidence that "the employer's decision was

motivated, at least in part, by an intent to retaliate against him." El Sayed v. Hilton Hotels Corp.,

627 F.3d at 933; see, e.g., Ibok v. Sec. Indus. Automation, 369 F. App'x at 213; Hicks v. Baines, 593

F.3d at 164 (A plaintiff sufficiently demonstrates pretext if he shows that "'a retaliatory motive

played a part in the adverse employment actions even if it was not the sole cause.'"); Raniola v.

Bratton, 243 F.3d at 625 ("A retaliatory motive must be . . . at least a substantial or motivating factor

behind the adverse action." (quotations omitted)).17/

                   "A plaintiff may prove that retaliation was a 'substantial' or 'motivating' factor behind

an adverse employment action either '(1) indirectly, by showing that the protected activity was

followed closely by discriminatory treatment, or through other circumstantial evidence such as

disparate treatment of fellow employees who engaged in similar conduct; or (2) directly, through




16/
         Accord, e.g., El Sayed v. Hilton Hotels Corp., 627 F.3d at 932-33; Ibok v. Sec. Indus.
         Automation Corp., 369 F. App'x at 213; Bennet v. Verizon Wireless, 326 F. App'x at 10;
         Matya v. United Ref. Co., 323 F. App'x at 67; Bowles v. N.Y.C. Transit Auth., 285 F. App'x
         at 814; Pellegrini v. Sovereign Hotels, Inc., 740 F. Supp. 2d at 354; McKenzie v. Gibson,
         2010 WL 3528922 at *8; Deshpande v. Medisys Health Network, Inc., 2010 WL 1539745
         at *9; Hall v. Parker Hannifan Corp., 2009 WL 4406145 at *2.
17/
         Accord, e.g., Pellegrini v. Sovereign Hotels, Inc., 740 F. Supp. 2d at 354; Lundy v. Town
         of Brighton, 732 F. Supp. 2d at 271; Deshpande v. Medisys Health Network, Inc., 2010 WL
         1539745 at *9.

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evidence of retaliatory animus directed against the plaintiff by defendant.'" Raniola v. Bratton, 243

F.3d at 625.18/

         B.        Mayers Has Not Established A Prima Facie Case of Retaliation Because A
                   Reasonable Employer Would Not Have Know that She Engaged in a Protected
                   Activity

                   An employee engages in a protected activity when she complains of an employment

practice that she reasonably believes violates the law. E.g., Cruz v. Coach Stores, Inc., 202 F.3d

560, 566 (2d Cir. 2000) ("The term 'protected activity' refers to action taken to protest or oppose

statutorily prohibited discrimination.").19/ In order for a complaint to form the basis of a retaliation


18/
         See, e.g., Gorzynski v. Jetblue Airways Corp., 596 F.3d 93, 110 (2d Cir. 2010) ("'[A]
         plaintiff can indirectly establish a causal connection to support a discrimination or retaliation
         claim by showing that the protected activity was closely followed in time by the adverse
         employment action.'"); Butts v. NYC Dep't of Hous. Pres. & Dev., 307 F. App'x 596, 599
         (2d Cir. 2009) ("The plaintiff can establish the causal connection indirectly by showing that
         the protected activity was closely followed by discrimination, or directly by showing
         evidence of a discriminatory animus."); Pellegrini v. Sovereign Hotels, Inc., 740 F. Supp.
         2d at 354 ("'[P]roof of causal connection can be established indirectly by showing that the
         protected activity was followed closely by discriminatory treatment or through other
         evidence such as disparate treatment of fellow employees who engaged in similar conduct,
         or directly through evidence of retaliatory animus directed against a plaintiff by the
         defendant.'").
19/
         See also, e.g., Kessler v. Westchester Cnty. Dep't of Soc. Servs., 461 F.3d 199, 210 (2d Cir.
         2006) (The "'protected activity'" element requires that the plaintiff "'have had a good faith,
         reasonable belief that he was opposing an employment practice made unlawful'" by the
         statutes.); Treglia v. Town of Manlius, 313 F.3d 713, 719 (2d Cir. 2002) ("A plaintiff may
         prevail on a claim for retaliation even when the underlying conduct complained of was not
         in fact unlawful 'so long as he can establish that he possessed a good faith, reasonable belief
         that the underlying challenged actions of the employer violated [the] law.'"); McMenemy
         v. City of Rochester, 241 F.3d 279, 283, 285 (2d Cir. 2001) ("[P]laintiff must have had a
         'good faith, reasonable belief that the underlying challenged actions of the employer violated
         the law.'"); Galdieri-Amrosini v. Nat'l Realty & Dev. Corp., 136 F.3d 276, 292 (2d Cir.
         1998) ("[P]articipation in protected activity" requires a "'good faith, reasonable belief that
         the underlying employment practice was unlawful.'").

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claim, however, the employer must have "understood, or could reasonably have understood, that the

plaintiff's opposition was directed at conduct prohibited by" the employment discrimination laws.

Galdieri-Ambrosini v. Nat'l Realty & Dev. Corp., 136 F.3d at 292; see, e.g., Lee v. Sony BMG

Music Entm't, Inc., 07 Civ. 6733, 2010 WL 743948 at *11 (S.D.N.Y. Mar. 3, 2010) ("A complaint

cannot be the basis for a . . . retaliation claim if plaintiff's complaints to management could not be

understood to have been about race" or other protected classifications.); Brummell v. Webster Cent.

Sch. Dist., No. 06-CV-6437, 2009 WL 232789 at *6 (W.D.N.Y. Jan. 29, 2009) (A "plaintiff must

complain of discrimination in sufficiently specific terms so that the employer is put on notice that

the plaintiff believes he or she is being discriminated against on the basis of race, gender, national

origin, or any other characteristic protected" by law.).20/ Thus, if the discriminatory nature of the

complaint is not readily apparent, "[t]he onus is on the speaker to clarify to the employer that [she]

is complaining of unfair treatment due to [her] membership in a protected class and that [she] is not

complaining merely of unfair treatment generally." Aspilaire v. Wyeth Pharm., Inc., 612 F. Supp.

2d 289, 309 (S.D.N.Y. 2009) ("While plaintiff may have believed that she was the victim of

discrimination, an undisclosed belief of such treatment will not convert an ordinary employment

complaint into a protected activity."); see, e.g., Krasner v. HSH Nordbank AG, 680 F. Supp. 2d at

521-22 (While a plaintiff "need not have explicitly used the words 'discrimination' or 'gender' to

afford [her] complaints protected activity status," if the protested activity "does not lend itself to a


20/
         Accord, e.g., Wimes v. Health, 157 F. App'x 327, 328 (2d Cir. 2005); Joseph v. Marco Polo
         Network, Inc., 09 Civ. 1597, 2010 WL 4513298 at *17 (S.D.N.Y. Nov. 10, 2010); Rommage
         v. MTA Long Island R.R., No. 08-cv-836, 2010 WL 4038754 at *14 (E.D.N.Y. Sept. 30,
         2010); Krasner v. HSH Nordbank AG, 680 F. Supp. 2d 502, 520-22 (S.D.N.Y. 2010)
         (Lynch, C.J.).

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reasonable inference of unlawful discrimination, such 'magic words' may be the only way to put the

employer on notice that the employee believes [her]self to be complaining of discriminatory

conduct." (citation omitted)); see also, e.g. Sharpe v. MCI Commc'ns Servs., Inc., 684 F. Supp. 2d

394, 406 (S.D.N.Y. 2010) (Chin, D.J.).

                   Here, Mayers alleges that by "agree[ing] with the statements contained in the

[anonymous] letter," she made "a formal complaint to Emigrant's Vice President of Security about

disparate mistreatment and harassment." (Dkt. No. 1: Compl. ¶¶ 32-33, 45.) Even assuming that

Mayers possessed a good-faith belief that the "letter itself . . . was making a complaint of race, age

[or] gender[] discrimination" (Dkt. No. 40: Mayers Dep. at 109-10; see page 8 above), her retaliation

claim fails because she never said as much to anyone at Emigrant (see pages 8-9 above) and the

letter is not susceptible to such an interpretation.

                   The essence of the letter is that Palombo was an incompetent and nasty manager who

treated employees badly. (See pages 5-6 above.) The letter did not state or imply that Palombo

mistreated call center employees because of their race, gender, age or other protected characteristic.

(See page 6 above.) The letter did not refer to or in any way declare the race or age of any

employee. Mayers conceded at her deposition that she did not think that by "agreeing with th[e]

letter [she was] making a complaint about age, race, sex, gender or any other related discrimination

against" her. (See page 8 above.) She did, however, believe the letter complained of gender

discrimination "[b]ecause the majority of the names that were mentioned" in the letter were female.

(See pages 8-9 above.) While Mayers is correct that most of the incidents referenced in the letter

concern Palombo's callous treatment of female employees, at least two of Palombo's sixteen



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"victim[s]," or approximately 12.5%, were male. (See page 6 above; Dkt. No. 32: Romano Aff. Ex.

A: Anonymous Ltr. at 6.) Given that under ten percent of the Ossining telephone representatives

were male (see page 2 n.1 above), the percentage of incidents involving female employees is more

than proportionate to their percentage in the Ossining call center. Thus, while Mayers' agreement

with the complaints in the anonymous letter clearly conveyed her belief that Palombo was an

incompetent and nasty supervisor, the letter did not put Emigrant on notice that Mayers was

complaining of discrimination based on gender (or any other protected class). See, e.g., McDowell

v. T-Mobile USA, Inc., 307 F. App'x 531, 534 (2d Cir. 2009) (Where plaintiff "never explicitly

complained about racial discrimination . . . plaintiff's supervisors could [not] have understood that

plaintiff's complaints about a paperwork delay and a co-worker's career were about race.");

Galdieri-Ambrosini v. Nat'l Realty & Dev. Corp., 136 F.3d at 292 (No retaliation claim where

plaintiffs complaint "in no way intimated that she believed [her supervisor's] conduct to be

influenced by her gender," and therefore did not "suggest[] any complaint of gender

discrimination."); Rommage v. MTA Long Island R.R., 2010 WL 4038754 at *14 ("The mere fact

that the person or people 'making the complaints [were] African American will not convert an

ordinary complaint into a complaint of racial discrimination sufficient to put the employer on notice

of such discrimination.' . . . Because the statements displayed no obvious reference to race or gender

and plaintiff's letter addressed harassment generally, but did not mention gender or race

discrimination or harassment, there is no reason to impute to defendant any consciousness of an

unstated race or gender premise underlying the harassing conduct described."); Lee v. Sony BMG

Music Entm't, Inc., 2010 WL 743948 at *12 (Employer "cannot be charged with knowing about an



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instance of discrimination if it was never told that there was any racial aspect to the situation," i.e.,

that her supervisor attacked her.); Inganamorte v. Cablevision Sys. Corp., No. 03-CV-5973, 2006

WL 2711604 at *16 (E.D.N.Y. Sept. 21, 2006) (Employer could not have been aware plaintiff's

complaint concerned gender discrimination because the complaint failed to "state or imply that

gender ha[d] anything to do with her objections" and her complaint indicated that men also received

similar unfair treatment.); Bengard v. United Parcel Serv., No. 99-CV-8454, 2001 WL 1328551 at

*9 (E.D.N.Y. Aug. 22, 2001) (Letter that mentioned being "humiliated, harassed, threatened and

manipulated by someone with authority" but failed to reference any religious basis for the

harassment is insufficient to impute to defendant employer a "consciousness of an unstated religious

premise underlying the harassing conduct described in the letter."), aff'd, 48 F. App'x 350 (2d Cir.

2002).21/




21/
         See also, e.g., James v. Newsweek, Inc., No. 99-9280, 213 F.3d 626 (table), 2000 WL
         536409 at *1 (2d Cir. May 2, 2000) (Plaintiff's "veiled and ambiguous remark" to her
         supervisor that she "did not believe 'her evaluation was fair' and that she was 'going to seek
         justice'" was "insufficient to support the inference that she was complaining about alleged
         discrimination."), cert. denied, 531 U.S. 926, 121 S. Ct. 303 (2000); Braid v. MJ Peterson
         Corp., No. 99-7890, 208 F.3d 202 (table), 2000 WL 268568 at *1 (2d Cir. Mar. 10, 2000)
         (No prima facie case of retaliation where plaintiff's only evidence "that he had complained
         to [his employer] about race discrimination prior to his termination" was a letter that made
         "absolutely no mention, directly or indirectly, of race discrimination or racial issues.");
         Krasner v. HSH Nordbank AG, 680 F. Supp. 2d at 521 (Even assuming that plaintiff
         "genuinely possessed a reasonable belief that he was complaining of unlawful gender
         discrimination, the retaliation claim flounders on the fact that [his employer] had no way to
         understand his complaints as such."); Aspilaire v. Wyeth Pharm., Inc., 612 F. Supp. 2d at
         310 ("[T]he mere fact that the [people] making the complaints [were] African American will
         not convert an ordinary complaint into a complaint of racial discrimination sufficient to put
         the employer on notice of such discrimination.").

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                   Because a reasonable employer would not have understood that Mayers was making

a complaint of unlawful discrimination when she told Fahey that she agreed with the contents of the

anonymous letter, Mayers has not established a prima facie case of retaliation. Emigrant's motion

for summary judgment dismissing Mayers' NYSHRL and NYCHRL22/ retaliation claims is

GRANTED.

III.     EMIGRANT'S DENIAL OF MAYERS' SEVERANCE BENEFITS PAY WAS
         ARBITRARY AND CAPRICIOUS

         A.        Standard of Review in ERISA Cases

                   ERISA section 502(a) permits the beneficiary of an employment benefit plan to bring

a civil action "to recover benefits due to him under the terms of his plan." 29 U.S.C. § 1132

(a)(1)(B). "To prevail under § 502, a plaintiff must show that (1) the plan is covered by ERISA,

(2) plaintiff is a participant or beneficiary of the plan, and (3) plaintiff was wrongfully denied

severance pay owed under the plan." Giordano v. Thomson, 564 F.3d 163, 168 (2d Cir. 2009)

(citations omitted); accord, e.g., Dickerson v. United Way of N.Y.C., 351 F. App'x 506, 507 (2d Cir.

2009), cert. denied, 131 S. Ct. 105 (2010); Nyame v. Bronx Lebanon Hosp. Ctr., 08 Civ. 9656, 2010

WL 1379794 at *6 (S.D.N.Y. Mar. 31, 2010).



22/
         The Local Civil Rights Restoration Act of 2005, N.Y.C. Local Law No. 85 (2005), requires
         that a NYCHRL claim be evaluated under a more liberal approach and separately from its
         state and federal counterparts. E.g., Melie v. ECVI/TCI College Admin., 374 F. App'x 150,
         153-54 (2d Cir. 2010); Abbunio v. City of N.Y., --- N.E. 2d ---, 2011 WL 1157706 (N.Y.
         Mar. 31, 2011). Nevertheless, retaliation claims under the NYCHRL, like the NYSHRL
         require the employer's awareness of the protected activity. (See pages 16-17 above.)
         Mayers' retaliation claim fails even under the more liberal standards under the NYCHRL,
         because the mismanagement claims in the anonymous letter would not have been understood
         by a reasonable employer as stating a gender discrimination claim.

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                                                                                                     26

                   "[A] denial of benefits challenged under [section 502(a)] is to be reviewed under a

de novo standard unless the benefit plan gives the administrator or fiduciary discretionary authority

to determine eligibility for benefits or to construe the terms of the plan." Firestone Tire & Rubber

Co. v. Bruch, 489 U.S. 101, 115, 109 S. Ct. 948, 956-57 (1989).23/ If the plan administrator has such

discretion, the benefits determination is reviewed under the arbitrary and capricious standard. E.g.,

Giordano v. Thomson, 564 F.3d at 168 ("Where an ERISA plan gives an administrator discretionary

authority to 'determine eligibility for benefits or to construe the terms of the plan' we review the

administrator's decisions under the arbitrary and capricious standard.").24/

                   Under the arbitrary and capricious standard, the "scope of review is narrow," and the

Court "may overturn a decision to deny benefits only if it was 'without reason, unsupported by

substantial evidence or erroneous as a matter of law.'" Pagan v. NYNEX Pension Plan, 52 F.3d 438,

442 (2d Cir. 1995); accord, e.g., Durakovic v. Bldg. Serv. 32 BJ Pension Fund, 609 F.3d at 141;

Pepe v. Newspaper & Mail Deliveries'-Publishers' Pension Fund, 559 F.3d at 146-47; McCauley v.

First Unum Life Ins. Co., 551 F.3d at 132; Krauss v. Oxford Health Plans, Inc., 517 F.3d at 623;

Suarato v. Bldg. Serv. 32 BJ Pension Fund, 554 F. Supp. 2d 399, 416 (S.D.N.Y. 2008) (Peck, M.J.)

(citing cases). "'Substantial evidence is such evidence that a reasonable mind might accept as

adequate to support the conclusion reached by the administrator and requires more than a scintilla

23/
         Accord, e.g., Hobson v. Metro. Life Ins. Co., 574 F.3d 75, 82 (2d Cir. 2009); Giordano v.
         Thomson, 564 F.3d at 168; McCauley v. First Unum Life Ins. Co., 551 F.3d 126, 130 (2d
         Cir. 2008); Krauss v. Oxford Health Plans, Inc., 517 F.3d 614, 622 (2d Cir. 2008).
24/
         Accord, e.g., Durakovic v. Bldg. Serv. 32 BJ Pension Fund, 609 F.3d 133, 138 n.2 (2d Cir.
         2010); Hobson v. Metro. Life Ins. Co., 574 F.3d at 82; Pepe v. Newspaper & Mail
         Deliveries'-Publishers' Pension Fund, 559 F.3d 140, 146 (2d Cir. 2009); McCauley v. First
         Unum Life Ins. Co., 551 F.3d at 130; Krauss v. Oxford Health Plans, Inc., 517 F.3d at 622.

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but less than a preponderance.'" Durakovic v. Bldg. Serv. 32 BJ Pension Fund, 609 F.3d at 141

(quoting Celardo v. GNY Auto. Dealers Health & Welfare Trust, 318 F.3d 142, 146 (2d Cir. 2003));

accord, e.g., Miller v. United Welfare Fund, 72 F.3d 1066, 1072 (2d Cir. 1995).

                   In cases where the plan administrator both evaluates and pays benefits claims, a

conflict of interest exists:

                   In such a circumstance, "every dollar provided in benefits is a dollar spent by . . . the
                   employer; and every dollar saved . . . is a dollar in [the employer's] pocket." The
                   employer's fiduciary interest may counsel in favor of granting a borderline claim
                   while its immediate financial interest counsels to the contrary. Thus, the employer
                   has an "interest . . . conflicting with that of the beneficiaries," the type of conflict that
                   judges must take into account when they review the discretionary acts of a trustee of
                   a common-law trust.

Metro. Life Ins. Co. v. Glenn, 554 U.S. 105, 112, 128 S. Ct. 2343, 2348 (2008) (citations omitted);

accord, e.g., Durakovic v. Bldg. Serv. 32 BJ Pension Fund, 609 F.3d at 138 ("Employer-

administrators have a categorical conflict."); McCauley v. First Unum Life Ins. Co., 551 F.3d at 133.

                   Such a conflict "must be weighed as a 'facto[r] in determining whether there is an

abuse of discretion,'" but does not change the standard of review from deferential to de novo.

Firesone Tire & Rubber Co. v. Bruch, 489 U.S. at 115, 109 S. Ct. at 957; see, e.g., Metro. Life Ins.

Co. v. Glenn, 554 U.S. at 111, 115, 128 S. Ct. at 2348, 2350 ("Trust law continues to apply a

deferential standard of review to the discretionary decision making of a conflicted trustee, while at

the same time requiring the reviewing judge to take account of the conflict when determining

whether the trustee, substantively or procedurally, has abused his discretion."); McCauley v. First

Unum Life Ins. Co., 551 F.3d at 128, 133 ("[A] plan under which an administrator both evaluates

and pays benefits claims creates the kind of conflict of interest that courts must take into account



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and weigh as a factor in determining whether there was an abuse of discretion, but does not make

de novo review appropriate. This is true even where the plaintiff shows that the conflict of interest

affected the choice of a reasonable interpretation.") (citations omitted).25/

                   The weight a Court assigns to a conflict of interest "depends on the circumstances"

and "varies in direct proportion to the 'likelihood that [the conflict] affected the benefits decision.'"

Durakovic v. Bldg. Serv. 32 BJ Pension Fund, 609 F.3d at 138-39; see, e.g., Metro. Life Ins. Co. v.

Glenn, 554 U.S. at 117, 128 S. Ct. at 2351 ("The conflict of interest . . . should prove more important

(perhaps of great importance) where circumstances suggest a higher likelihood that it affected the

benefits decision, including, but not limited to, cases where an insurance company administrator has

a history of biased claims administration. It should prove less important (perhaps to the vanishing

point) where the administrator has taken active steps to reduce potential bias and to promote

accuracy, for example, by walling off claims administrators from those interested in firm finances,

or by imposing management checks that penalize inaccurate decision making irrespective of whom

the inaccuracy benefits." (citations omitted)); McCauley v. First Unum Life Ins. Co., 551 F.3d at 133

(same). Such a conflict may "act as a tiebreaker when the other factors are closely balanced."

Metro. Life Ins. Co. v. Glenn, 554 U.S. at 117, 128 S. Ct. at 2351; accord, e.g., Mohamed v. Sanofi-

Aventis Pharm., 2009 WL 4975260 at *15.

                   ERISA Section 503(2) "requires that claims for benefits be afforded a 'full and fair

review by the appropriate named fiduciary of the decision denying the claim.'" Hobson v. Metro.



25/
         Accord, e.g., Durakovic v. Bldg. Serv. 32 BJ Pension Fund, 609 F.3d at 138; Hobson v.
         Metro. Life Ins. Co., 574 F.3d at 82-83.

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Life Ins. Co., 574 F.3d 75, 86 (2d Cir. 2009) (quoting 29 U.S.C. § 1133(2)). A "[f]ull and fair

review" requires, inter alia, that the Plan Administrator "take[] into account all comments,

documents, records, and other information submitted by the claimant relating to the claim, without

regard to whether such information was submitted or considered in the initial benefit determination."

29 C.F.R. § 2560.503-1(h)(2)(iv). A Plan Administrator has discretion to "weigh competing

evidence, but it may not . . . cherry-pick the evidence it prefers while ignoring significant evidence

to the contrary." Winkler v. Metro. Life Ins. Co., 170 F. App'x. 167, 168 (2d Cir. 2006); accord,

e.g., Mohamed v. Sanofi-Aventis Pharm., 06 Civ. 1504, 2009 WL 4975260 at *14 (S.D.N.Y. Dec.

22, 2009); Clark v. First Unum Life Ins. Co., 04 Civ. 9050, 2009 WL 1150318 at *2 (S.D.N.Y Apr.

29, 2009). A "decision that falls short of a full and fair review will not be affirmed even under the

deferential [arbitrary and capricious] standard." Suarato v. Bldg. Servs. 32BJ Pension Fund, 554

F. Supp. 2d at 419 (quotations omitted; citing cases).

         B.        Emigrant's Denial of Mayers' Severance Benefits Claim Was Arbitrary And
                   Capricious, And Not The Result of a Full And Fair Review

                   Mayers alleges that she was wrongly denied severance benefits because "the

determination of [] Emigrant . . . to fire [her] for cause was pretextual, and [she] was thus not

disqualified from receiving the benefits under the Plan." (Dkt. No. 1: Compl. ¶ 77; see Compl.

¶¶ 56-60.) Mayers also alleges that Emigrant did not conduct a "full and fair review" of her

severance pay claim. (Compl. ¶¶ 62-66, 84-87.)

                   It is undisputed that Emigrant's benefit plan is covered by ERISA and that Mayers

was a beneficiary of the plan. (See Dkt. No. 1: Compl. ¶¶ 9-11, 48, 69, 75; Dkt. No. 30: Emigrant

Br. at 16-18; Dkt. No. 34: Nipe Aff. Ex. 2: Summary Plan Description at 16-17.) Thus, the only


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issue before the Court is whether Mayers was "wrongfully denied severance pay owed under the

plan." (See cases cited on page 25 above.) Because Emigrant's benefits plan grants discretion to

the plan administrator to determine eligibility for severance benefits (see page 9 n.7 above; Nipe

Aff. Ex. 1: Year 2000 Severance Pay & Outplacement Program §§ 9-12), Emigrant's determination

that Mayers is not entitled to severance benefits is examined under the arbitrary and capricious

standard of review, and must be upheld if it is supported by "substantial evidence." (See cases cited

on page 26 above.)

                   Following Mayers' initial claim submission, Nipe reviewed Romano's December 1,

2008 memorandum and "spoke with" certain unnamed individuals (presumably Romano and Fahey)

"responsible for the investigation of the anonymous letter." (Nipe Aff. ¶ 5; see page 9 above.)

Based entirely on Romano's allegation that Mayers had discussed "confidential information" with

"her subordinates," the Fiduciary Committee determined that Mayers properly was fired "for cause."

(Nipe Aff. Ex. 6: Nipe 1/27/09 Ltr.; see pages 9-10 above.) Thereafter, Mayers submitted to Nipe

an appeal letter and affidavit asserting that she did not violate Romano's directives. (Nipe Aff. Ex.

7: Dagg 2/2/09 Ltr. & Mayer Aff.; see page 10 above.) In particular, Mayers swore that she

consistently refrained from discussing the investigation with others and told her subordinates to do

the same. (Nipe Aff. Ex. 7: Mayer Aff. ¶¶ 13, 15, 24; see pages 4, 10 above.) More importantly,

Mayers stated that she immediately informed Romano that Kelly had been contacted by former

Emigrant employees. (Mayer Aff. ¶¶ 16, 24; see page 4 above.) On May 19, 2009, "after reviewing

[Mayers'] appeal and the affidavit submitted in connection with the appeal," Nipe issued a letter

denying Mayers' appeal. (Nipe Aff. ¶ 10 & Ex. 8: Nipe 5/19/09 Ltr.; see page 11 above.)



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                   Although the Fiduciary Committee's determination that Mayers was terminated "for

cause" (and therefore ineligible for severance benefits) is supported by some evidence, i.e.,

Romano's December 1, 2008 memorandum, its decision was based on a superficial investigation of

the facts and did not take into account evidence that Mayers had complied with Romano's directives.

Importantly, Romano's December 1, 2008 memorandum does not explain how Mayers' alleged

infractions were "brought to Kim's [Romano's] attention," or what about the investigation Mayers

allegedly discussed with her subordinates.26/ (Nipe Aff. Ex. 6: Romano Memo.; see pages 9-10

above.) Absent such information, the Fiduciary Committee's determination that Mayers disregarded

Romano's directives is arbitrary and capricious. It is possible, for example, as Mayers alleges, that

she merely told Kelly not to discuss the investigation and to report any such discussions to Romano.

                   Moreover, despite Mayers' conflicting account, the Fiduciary Committee accepted

Romano's threadbare allegations without further investigation. In light of the protestations of

innocence by Mayers -- a 20 plus year Emigrant employee -- a reasonable fiduciary would have

conducted a more thorough investigation, including, for instance, asking Romano what Mayers

allegedly told Kelly, how Romano learned of that discussion and whether Mayers informed Romano

that Kelly had been contacted by former Emigrant employees. See Mohamed v. Sanofi-Aventis

Pharm., 06 Civ. 1504, 2009 WL 4975260 at *14, 17 (S.D.N.Y. Dec. 22, 2009) (Denying summary

judgment because, inter alia, Committee did not investigate plaintiff's claim that he did not violate


26/
         Romano's affidavit in support of Emigrant's summary judgment motion alleges that Romano
         personally "observed" Mayers discussing the investigation with Kelly, which is contrary to
         what is in Romano's memo that Nipe relied upon; in any event Romano's affidavit fails to
         specify what about the investigation Mayers and Kelly allegedly discussed. (See Dkt. No.
         32: Romano Aff. ¶ 7.)

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company policy); Page v. Bancroft Neurohealth, Inc., 575 F.Supp. 2d 664, 680 (E.D. Pa. 2008)

(Denying defendant's summary judgment motion because "[t]he record evidence presented by [the

Plan Administrator] in support of its decision fails to satisfy the factual questions raised by

Plaintiff."); Anderson v. Sotheby's, Inc., 04 Civ. 8180, 2006 WL 1722576 at *15-16 (S.D.N.Y.

June 22, 2006) (Benefits determination was arbitrary and capricious where "the Committee relied

heavily on certain excerpts from . . . self-serving interviews . . . to the exclusion of contrary

evidence" and "also ignored portions of the interviews that did not support its decision.");

Poehlmann v. Duetsche Bank Ams. Severance Pay Plan, No. Civ. A. 04-2669, 2005 WL 1875529

at *9 (E.D. Pa. Aug. 8, 2005) (Because "the Committee was faced with conflicting accounts . . . ,

yet relied exclusively on the Denaro Memo and conducted no independent review whatsoever," its

conclusion was "the epitome of an arbitrary and capricious decision.").

                   The fact that Emigrant both evaluates and pays employee benefits claims also weighs

against granting summary judgment to Emigrant. (See cases cited at pages 27-28 above.) The

conflict of interest inherent in such situations is amplified here because Nipe, who participated in

the decision to terminate Mayers' employment and was present at the meeting where Mayers was

fired (see page 8 above), also was responsible for investigating and deciding Mayers' severance

benefits claim (see Nipe Aff. ¶¶ 4-10). Such circumstance certainly undermined Nipe's ability to

act impartially, and appears very likely to have influenced Emigrant's severance benefits

determination.

                   Finally, although Nipe's May 19, 2009 letter denying severance pay states that

Mayers' appeal had been "reviewed by the Fiduciary Committee" (Nipe Aff. Ex. 8: Nipe 5/19/09



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Ltr.), Nipe's affidavit merely states that after "reviewing [Mayers'] appeal and the affidavit submitted

in connection" therewith, Nipe issued a letter denying Mayers appeal (Nipe Aff. ¶ 10). Accordingly,

there is ambiguity whether anyone on the Fiduciary Committee, other than Nipe, considered Mayers'

affidavit, and thus whether Mayers' right to a "full and fair review" was violated. See cases and

regulations cited at pages 28-29 above, see also, e.g., Mohamed v. Sanofi-Aventis Pharm., 2009 WL

4975260 at *14, 16 (Committee's failure to review plaintiff's appeal letter, and other evidence that

plaintiff was not fired for cause, "violated Plaintiff's right to a 'full and fair review' of his benefits

claim as a matter of law."); Eymer v. Ground Round, Inc., 913 F. Supp. 693, 698 (N.D.N.Y. 1996)

("The ambiguity regarding whether the Benefits Committee ever genuinely considered plaintiffs'

arguments, along with the fact that the Administrator may have acted under a conflict of interest

compels the Court to conclude that questions of material fact exist as to whether the Administrator's

decision denying benefits was arbitrary and capricious as a matter of law. Therefore, defendants'

[summary judgment] motion is denied as to these claims.").

                   Because Emigrant did not adequately investigate the events precipitating Mayers

termination, the Fiduciary Committee did not have sufficient information to make an informed

decision that Mayers was fired "for cause." It also is unclear whether Nipe summarily denied

Mayers' appeal without circulating to the Fiduciary Committee evidence that Mayers complied with

Romano's directives. Given Emigrant's dual role as payor and evaluator of Mayers' severance pay

claim, and Nipe's more palpable conflict due to her active role in Mayers' termination, the denial of

Mayers' claim on such insubstantial evidence is questionable. Accordingly, the Court finds that




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Emigrant's denial of Mayers' severance pay claim was arbitrary and capricious and Emigrant's

summary judgment motion on this claim therefore is DENIED.

         C.        The Appropriate Relief is a Remand to the Emigrant Fiduciary Committee

                   Although Emigrant's denial of Mayers' claim was arbitrary and capricious, and done

without a full and fair review, the administrative record is insufficient to determine whether Mayers

was terminated "for cause." Only after a more thorough investigation of the allegations raised in

Mayers' affidavit will such a determination be possible. The appropriate remedy, however, is not

to schedule a trial date but rather is to remand the case to Emigrant's Fiduciary Committee "with

instructions to consider additional evidence."27/ Miller v. United Welfare Fund, 72 F.3d 1066, 1071

(2d Cir. 1995) ("Because district courts are required to limit their review to the administrative

record, it follows that, if upon review a district court concludes that the [plan administrator's]

decision was arbitrary and capricious, it must remand to the [plan administrator] with instructions

to consider additional evidence unless no new evidence could produce a reasonable conclusion

permitting denial of the claim or remand would otherwise be a 'useless formality.'"); see, e.g., Pepe

v. Newspaper & Mail Deliveries'-Publishers' Pension Fund, 559 F.3d 140, 149 (2d Cir. 2009)

(Remand of arbitrary and capricious denial of benefits claim warranted where "additional evidence

might produce a reasonable conclusion permitting denial of [plaintiff's] claim."); Krauss v. Oxford


27/
         On remand, Emigrant also should take appropriate steps to reduce potential bias. In
         particular, Emigrant should select claims administrators who, unlike Nipe, had no direct
         involvement in Mayers' discharge and who can impartially evaluate Mayers' claim. The
         Court also notes that Mayers worked for Emigrant for more than twenty years, and the denial
         of her severance benefits on these facts, even if it turns out to be appropriate, seems quite
         unfair. The Court suggests the parties try to settle this matter, and the Court is available to
         assist in such efforts if the parties desire such assistance.

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Health Plans, Inc., 517 F.3d 614, 630 (2d Cir. 2008) ("A full and fair review concerns a beneficiary's

procedural rights, for which the typical remedy is remand for further administrative review.");

Magee v. Metro. Life Ins. Co., 07 Civ. 8816, 2009 WL 3682423 at *1 (S.D.N.Y. Oct. 15, 2009)

("MetLife failed to consider much of the evidence. Moreover, [plaintiff] did not 'clearly' show that

he was entitled to benefits. Accordingly, remand is the appropriate remedy.").28/

                   Accordingly, Emigrant's denial of Mayers' severance pay claim is vacated and the

matter is remanded to the Plan Administrator for further consideration in a manner consistent with

this opinion.

IV.      MAYERS' ERISA DISCRIMINATION CLAIM IS MERITLESS

                   ERISA Section 510 makes it "unlawful for any person to discharge, fine, suspend,

expel, discipline, or discriminate against a participant or beneficiary [of an employee benefit

plan] . . . for the purpose of interfering with the attainment of any right to which such participant

may become entitled under the plan."          29 U.S.C.A. § 1140.29/     "This prohibition includes

characterizing an employee's termination as one 'for cause' for the purpose of unlawfully denying

that employee severance benefits." Madera v. Marsh USA, Inc., 426 F.3d 56, 61 (1st Cir. 2005).30/

28/
         See also, e.g., Winkler v. Metro. Life Ins. Co., 170 F. App'x at 169; Levitian v. Sun Life &
         Health Ins. Co., 09 Civ. 2965, 2011 WL 565330 at *3 (S.D.N.Y. Feb. 9, 2011); Mohamed
         v. Sanofi-Avenits Pharm., 2009 WL 4975260 at *17; Cohen v. Metro. Life Ins. Co., 485 F.
         Supp. 2d 339, 353 (S.D.N.Y. 2007), aff'd, 334 F. App'x 375 (2d Cir. 2009).
29/
         "Section 510 was designed primarily to prevent 'unscrupulous employers from discharging
         or harassing their employees in order to keep them from obtaining vested pension rights.'"
         Dister v. Cont'l Group, Inc., 859 F.2d 1108, 1111 (2d Cir. 1988).
30/
         Because the denial of severance pay necessarily presupposes an employee's discharge, such
         claims properly are analyzed under section 510's discrimination clause. See Forchini v.
                                                                                     (continued...)

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                   "An essential element of plaintiff's proof under the statute [i.e., § 510] is to show that

an employer was at least in part motivated by the specific intent to engage in activity prohibited by

§ 510." Dister v. Cont'l Grp., Inc., 859 F.2d at 1111 (There is no "'cause of action [under § 510]

where the loss of pension benefits was a mere consequence of, but not a motivating factor behind,'"

the adverse employment action.); see, e.g., Berube v. Great Atl. & Pac. Tea Co., 348 F. App'x 684,

687 (2d Cir. 2009) ("To succeed on a Section 510 claim, a plaintiff must demonstrate the employer

specifically intended to interfere with benefits."); Lightfoot v. Union Carbide Corp., 110 F.3d 898,

906 (2d Cir. 1997) ("To defeat summary judgment [plaintiff] had to adduce some evidence from

which a reasonable jury could conclude that [defendant] terminated his employment with the intent

to reduce his pension benefits."), cert. denied, 528 U.S. 817, 120 S. Ct. 56 (1999). "Because the

existence of a specific intent to interfere with an employee's benefit rights is critical in § 510 cases -

yet is seldom the subject of direct proof," district courts apply the familiar McDonnell Douglas

burden shifting framework to § 510 discrimination claims. Dister v. Cont'l Grp., Inc., 859 F.2d at

1111-12 ("Employers of a mind to act contrary to law seldom note such a motive in their employee's


30/
         (...continued)
         Equibank, NA, 660 F. Supp. 1436, 1438-39 (W.D. Pa. 1987) (Plaintiff's claim that defendant
         characterized his discharge as one for cause "for the purpose of interfering with his receipt
         of severance pay" properly "sounds under the 'discrimination' prohibition of section 510.").
         To establish a prima facie case of unlawful discrimination under section 510, a plaintiff must
         show that she: (1) belongs to a protected group; (2) was qualified for the position; and
         (3) suffered an adverse employment action under circumstances that give rise to an inference
         of discrimination. See, e.g., Dister v. Cont'l Grp., Inc., 859 F.2d at 1114-15 (applying
         elements of Title VII unlawful termination claim to ERISA discharge claim.) In ERISA
         § 510 cases, beneficiaries of a covered plan constitute a "protected group." E.g., Dister v.
         Cont'l Grp., Inc., 859 F.2d at 1115 ("Because § 510 of ERISA protects those employees who
         have an opportunity to attain rights in a covered benefit plan, . . . plaintiff is in a protected
         group.").

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personnel dossier. . . . The McDonnell Douglas procedure attempts to compensate for this lack of

evidence to ensure that the employee has his or her day in court."); accord, e.g., Resner v. Arc Mills,

Inc., No. 97-7981, 152 F.3d 920 (table), 1998 WL 385771 at *1 (2d Cir.) ("[C]laims brought under

§ 510 are analyzed using the burden-shifting framework set forth in McDonnell Douglas."), cert.

denied, 525 U.S. 947, 119 S. Ct. 371 (1998); Mohamed v. Sanofi-Aventis Pharm., 06 Civ. 1504,

2009 WL 4975260 at *17 (S.D.N.Y. Dec. 22, 2009); Quinby v. WestLB AG, 04 Civ. 7406, 2007

WL 1153994 at *15 (S.D.N.Y. Apr. 19, 2007).

                   Mayers alleges that Emigrant's stated grounds for her "for cause" termination were

pretextual and done to avoid paying her severance benefits. (Dkt. No. 1: Compl. ¶¶ 70-72.)

Emigrant asserts that Mayers was fired because she "fail[ed] to comply with an express mandate

from Kimberly Romano not to discuss or disclose any matters involving Emigrant's investigation

of the anonymous letter." (See page 10 above.) Mayers concedes that if employees "engaged in a

discussion with co-workers about the investigation in violation of Ms. Romano's order not to do

that," Emigrant could legitimately terminate their employment "for cause." (Dkt. No. 40: Mayers

Dep. at 192-93.) Mayers has the burden to demonstrate that Emigrant's "'proffered explanation is

unworthy of credence'" and that intent to interfere with her severance benefits was a substantial

reason behind Emigrant's characterizing her discharge as one "for cause." E.g., Dister v. Cont'l Grp.,

Inc., 859 F.2d at 1112 (At the third step of the McDonnell Douglas framework, "[t]he plaintiff's

ultimate burden of persuading the trier of fact that he or she was the victim of intentional

discrimination then merges with the plaintiff's burden of proving that the employer's reason is

pretextual. This may be accomplished 'either directly by persuading the court that a discriminatory



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reason more likely motivated the employer or indirectly by showing that the employer's proffered

explanation is unworthy of credence.'" (citations omitted)); see also cases cited at pages 16-20

above, discussing the McDonnell Douglas burden shifting framework.

                   Mayers contends that Emigrant's intent to interfere with her attainment of benefits

is demonstrated by the fact that Emigrant initially told Mayers that she was being fired because she

"failed to live up to her managerial responsibilities" and because she "withheld evidence," but was

told after she applied for severance pay that she was fired because she discussed the confidential

investigation with co-workers and did not report those conversations to her supervisors. (See Dkt.

No. 1: Compl. ¶¶ 46-56; see page 8 above.) The implication of discrimination evoked by this minor

discrepancy, if any, is too tenuous to create a genuine issue of material fact. See, e.g., Dister v.

Cont'l Grp., Inc., 859 F.2d at 1116 (Minor "inconsistencies in testimony of [defendant] executives

concerning the specific circumstances of [plaintiff's] discharge" were insufficient to "cause a

reasonable jury to doubt [defendant's] explanation for [plaintiff's] discharge from employment.");

Sarmiento v. Queens Coll. CUNY, 386 F. Supp. 2d 93, 105 (E.D.N.Y.) (Inconsistencies in

defendant's statements regarding knowledge of plaintiff's ethnicity were "insufficient to raise a

material issue of fact regarding pretext, because the evidence is minor and inconclusive as compared

to the overwhelming evidence that Defendant chose not to hire Plaintiff for exactly the reason they

stated."), aff'd, 153 F. App'x 21 (2d Cir. 2005). More importantly, the explanation given at Mayers'

October 22, 2008 termination meeting does not actually contradict the explanation stated in

Romano's December 1, 2008 memorandum: Emigrant's statement that Mayers "failed to live up to

her managerial responsibilities" is sufficiently broad to encompass Romano's allegation that Mayers



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discussed the investigation with co-workers despite being told not to, and the statement that Mayers

"withheld evidence" is consistent with, rather than contradictory to, Romano's claim that Mayers'

"failed to make [Romano] or [Fahey] aware that employees under her supervision were discussing

confidential information." (See pages 9-10 above.)

                  Because Mayers has adduced no evidence that deprivation of her severance pay was

a motivating factor behind, rather than merely a consequence of, Emigrant's decision to fire her "for

cause," Emigrant's summary judgment motion on Mayers' ERISA § 510 discrimination claim is

GRANTED.

                                          CONCLUSION

                  For the reasons set forth above, Emigrant's summary judgment motion (Dkt. No. 29)

is GRANTED as to Mayers' NYSHRL and NYCHRL retaliation claims and ERISA § 510

discrimination claim, and is DENIED as to Mayers' ERISA § 502 wrongful denial ofbenefits claim.

Emigrant's denial of Mayers' severance pay claim is VACATED and this matter is REMANDED

to the plan administrator for further proceedings. The Clerk of Court is directed to close this case.

                  SO ORDERED.

Dated:            New York, New York
                  April 22, 2011




Copies to:         Cheryl Mayers (Regular & Certified Mail)
                   Evandro C. Gigante, Esq.
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